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         Article

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         Discretionary Searches


         Steven J. Briggs1 and Kelsey A. Keimig1



         Abstract
         A large and growing body of research finds racial disparities in discretionary searches
         of drivers during traffic stops with Black drivers disproportionately involved in these
         investigations. Among the explanations for these disparities is the deployment
         hypothesis which suggests that as police departments increasingly adopt hot spots
         policing strategies, proactive traffic stops and discretionary searches may spatially
         cluster around crime hot spots contributing to racial disparities. The present study
         builds on the existing research literature by identifying hot spots using reported crime
         data from a police department and examining whether these crime hot spots function
         as a mediating factor to the relationship between driver race and discretionary
         searches. Findings provide partial support for the deployment hypothesis. While
         nearly half of all traffic stops transpired within one quarter mile of hot spots and more
         frequently involved Black drivers, stops involving Black drivers remained more likely
         to include discretionary searches and increased concomitantly with distance from the
         nearest hot spot.

         Keywords
         racial profiling, race and policing, traffic stops, driving while black, directed patrol, hot
         spots




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         Introduction
         When survey participants are asked whether local police vary decision-making based
         on race, including whether officers are more likely to stop some drivers using more
         minor violations, robust racial disparities emerge with Black survey respondents more
         frequently perceiving discriminatory treatment (Weitzer & Tuch, 1999; Wu, Lake, &
         Cao, 2013). While members of the public may inform their opinions regarding police
         decisions from a variety of sources including vicarious experiences of friends and
         family members or through exposure to media, previous interactions are a particularly
         salient factor when explaining these disparities (Weitzer & Tuch, 2005). Among the
         types of interactions with which members of the public may inform their opinions, the
         most common source of contacts is traffic stops, accounting for over 40% of police–
         public contacts (Langton & Durose, 2013), with interactions containing discretionary
         searches particularly damaging to police legitimacy due to the implication of criminal
         suspicion (Gau, 2012). Given the potential contribution to racial disparities in police
         legitimacy resulting from these contacts (Kirk, Papachristos, Fagan, & Tyler, 2012;
         Tyler, 2004; Weitzer & Tuch, 2005), a growing body of research focuses on the
         decision by officers to search drivers and vehicles (Petrocelli, Piquero, & Smith, 2003;
         Renauer, 2012; Schafer, Carter, Katz-Bannister, & Wells, 2006). Although there are
         exceptions (Smith & Petrocelli, 2001; Tillyer, Klahm, & Engel, 2012), much of the
         existing research identifies associations between driver race and searches, with Black
         drivers more frequently subject to these investigations than similarly situated White
         drivers (Briggs & Crew, 2013; Engel & Calnon, 2004).
            In order to better understand the origins of racial disparities in traffic stop deci-
         sions, research has begun incorporating contextual factors into analyses. In particular,
         given the uneven distribution of reported crimes to police, one explanation given for
         racial disparities centers around the deployment of police resources (Engel, Smith, &
         Cullen, 2012; Parker, MacDonald, Alpert, Smith, & Piquero, 2004). With promising
         evaluations also demonstrated crime prevention benefits of directing police resources
         to crime ‘‘hot spots’’ typically comprised of intersections, blocks, or block faces
         (Braga & Weisburd, 2010; Sherman, Gartin, & Buerger, 1989; Sherman & Weisburd,
         1995), combined with organizational changes encouraging officers to increase
         proactive activities in and near these hot spots (Silverman, 1999), the deployment
         hypothesis argues spatial variation in risk of stops and searches may differentially
         impact racial and ethnic groups when these locations are disproportionately identified
         within neighborhoods with higher proportions of racial and ethnic minority residents
         (Roncek & Maier, 1991; Tomaskovic-Devey, Mason, & Zingraff, 2004). Officers
         directing time and effort to crime hot spots may be more assertive in initiating traffic
         stops and investigating drivers and vehicles closer to hot spots of crime. Where hot
         spots are disproportionately situated in areas with higher proportions of racial and
         ethnic minority drivers, analyses of stop and search data are likely to identify asso-
         ciations between driver race and discretionary decision outcomes.
            Although a handful of published research papers examining the relationship
         between driver race and decisions in the context of traffic stops include measures of
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         context including police deployment, these analyses rely on data aggregated to
         neighborhoods or beats. The current study builds on this research by more directly
         testing the deployment hypothesis. Specifically, hot spots of crime are identified using
         police reports from a large police department and are used to explore whether the
         location of traffic stops relative to hot spots of crime functions as a mediating factor to
         the relationship between driver characteristics and the decision to search. Before
         describing the data, analysis, and findings of the present study, the article begins with
         a description of the deployment hypothesis and a review of research examining
         deployment of police resources as a mediating factor to the relationship between
         driver characteristics and discretionary searches.


         The Deployment Hypothesis
         Under the deployment hypothesis, racial disparities identified in analyses of traffic
         stop data collected by agencies policing urban areas are the product of variation in risk
         for police-initiated contacts and searches driven by organizational responses to
         uneven distributions of criminal offending. While examining the spatial distribution of
         crime has been a focal point of criminological research since the 1940s, for decades
         this research, along with the accompanying distribution of police resources, was
         organized around neighborhoods (Vold, Bernard, & Snipes, 2002). Police departments
         organized spatially by employing beats, or area assignments for patrol officers, that
         encompass anywhere between several blocks and several dozen square miles (Novak
         & Chamlin, 2012). Densities of patrols were typically based on the distribution of
         crime within jurisdictions where higher crime beats or neighborhoods received higher
         concentrations of patrols in an effort to dissuade potential offenders and respond more
         quickly to reported offenses (National Research Council, 2004).
            With technological developments enabling the widespread adoption of crime
         mapping and analysis, the focus on spatial distribution of crime began including
         smaller units of analysis such as blocks, street segments, and intersections. One such
         analysis involved mapping of calls for service down to addresses in Minneapolis
         (Sherman et al., 1989). Findings indicated that roughly half of calls for service ori-
         ginated from just 3% of addresses, suggesting that police administrators seeking to
         prevent crime could concentrate efforts to these locations. Significantly, it was also
         noted that, even within the most troubled neighborhoods, most addresses did not
         record a call for service during the study period (Sherman et al., 1989). With previous
         research finding limited impacts from increasing the density of patrols in neighbor-
         hoods on reducing rates of offending (Kelling, Pate, Dieckman, & Brown, 1974), the
         findings from the Minneapolis study suggested alternative crime prevention strategies
         including targeting patrol resources at hot spots of crime. Using a randomized con-
         trolled trial testing the directing of patrols to troubled places, Sherman and Weisburd
         (1995) found increasing police presence within crime hot spots lead to substantial
         reductions in crime and disorder. While some police departments continue dis-
         proportionately deploying patrols to entire neighborhoods in an effort to deter
         potential offenders, a national survey of police agencies found over half (58%) of
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         departments with jurisdiction populations of 50,000 or greater use crime mapping
         software to identify hot spots (Reaves, 2010).
            Along with the changes in understanding regarding the utility of patrol strategies as
         a crime prevention approach, many police departments also began adopting organi-
         zational changes first implemented by the New York City police department in the
         early 1990s (Silverman, 1999; Weisburd, Mastrofski, McNally, Greenspan, & Willis,
         2003) and often referred to as Compstat, in order to formalize systematic reviews of
         reported offenses and department responses using existing internal data during
         recurring meetings among police managers. As an organizational change, it provides
         incentives and accountability for officers to focus resources on problems, particularly
         crime hot spots. While police should arguably focus on responses that address con-
         ditions creating opportunities for offending (Kochel, 2011), a common response by
         departments is to direct officers to increase patrol and proactively address order
         maintenance issues, often solely relying on traditional law enforcement responses
         such as increasing contacts, becoming more assertive in conducting searches, and
         increasingly issuing citations and arrests in and around hot spots (Braga et al., 1999;
         Taylor, Koper, & Woods, 2011).
            The deployment hypothesis proposes that racial disparities in searches result from
         departments responding to concentrated offending by focusing traffic stops and
         searches in and around hot spots of crime (Tomaskovic-Devey et al., 2004). While this
         clustering of interactions increases the risk that drivers in and around crime hot spots
         will be stopped and searched, this risk is expected to be race neutral where drivers of
         various racial groups are treated similarly (Engel et al., 2012; Tomaskovic-Devey
         et al., 2004). In other words, traffic stops occurring in similar proximities to hot spots
         of crime should contain similar levels of officer assertiveness regardless of the
         characteristics of the stopped drivers. Racial disparities are an expected product of
         uneven risk for proactive, investigatory contacts driven by spatial variation in the
         distribution of reported offending rather than variation in the exercise of discretionary
         authority across drivers of varying demographic characteristics.



         Police Deployment on Racial Disparities
         in Stops and Searches
         With analyses of the decision to conduct searches usually relying upon the population
         of stopped drivers (Briggs & Crew, 2013), it is noteworthy that examinations focusing
         on the deployment of police resources often identify a positive relationship with
         distributions of traffic stops (Renauer, 2012; for an exception, see Novak & Chamlin,
         2012). For example, using data from Richmond, VA, Petrocelli, Piquero, and Smith
         (2003) find a positive association between the reported crime rate within neighbor-
         hoods and the rate of stops per neighborhood resident. Similarly, using data collected
         in Houston, TX, Roh and Robinson (2009) find positive a relationship between the
         number of officers assigned to patrol beats and the number of traffic stops recorded
         within beats.
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             Turning to the question of whether variation in patterns of police deployment con-
         tributes to racial disparities in searches, the likelihood or rate of searches is expected to
         be positively related to measures of police deployment rather than with driver race or
         ethnicity (Tomaskovic-Devey et al., 2004). This review and the analyses that follow
         focus specifically on discretionary searches which are officer-initiated investigations
         based on officer judgment (Walker, 2005). In contrast, nondiscretionary searches are
         typically mandatory for officers and are required by department policies (Kochel, 2011;
         Tillyer, 2014). While some researchers have used reasons given for initiating contacts or
         the dispositions of traffic stops to identify discretionary searches (Engel & Calnon,
         2004; Lundman, 2004; Smith & Petrocelli, 2001), the most common technique uses the
         reasons provided by officers for conducting searches. Discretionary searches include
         consent searches, where permission is sought and received by police officers, and
         so-called Terry searches, named for the U.S. Supreme Court ruling giving officers the
         authority to conduct cursory searches of drivers and/or vehicles in order to identify
         potential weapons (Ridgeway, 2006; Schafer et al., 2006). Nondiscretionary searches
         include those conducted incident to arrest, including inventory searches performed on
         vehicles as part of a seizure (Alpert, Dunham, & Smith, 2008; Schafer et al., 2006).
             Previous research examining whether variation in deployment mitigates the rela-
         tionship between driver race and discretionary searches provides mixed support for
         the deployment hypothesis. After accounting for violent crime arrest rates within
         neighborhoods, Alpert, Dunham, and Smith (2008) find that neither driver race nor
         driver ethnicity to be a significant predictor of the likelihood of searches. Alter-
         natively, after accounting for greater likelihoods of stops in neighborhoods with
         greater amounts of crime, the rates at which drivers are searched are higher for Black
         drivers than White drivers for some types of discretionary searches (i.e., Terry sear-
         ches) though not others (Ridgeway, 2006). Moreover, Novak and Chamlin (2012)
         identify a positive relationship between a measure of police workload and the rate at
         which traffic stops involve searches for Black drivers. However, a similar pattern is
         not identified for White drivers.
             Presently, the research testing whether the deployment hypothesis explains racial
         disparities in discretionary searches suffers from several limitations including relying on
         outcome measures that fail to distinguish between discretionary and nondiscretionary
         searches (Alpert et al., 2008; Novak & Chamlin, 2012). In addition, previous analyses of
         the deployment hypothesis have relied on aggregated, neighborhood, or beat-level
         measures of police deployment. Given that neighborhoods can be spatially large
         (Novak & Chamlin, 2012), have wide variation in levels of offending within them
         (Sherman et al., 1989), and with many larger police departments implementing hot spots
         policing strategies (Reaves, 2010), variation in the exercise of police discretion within
         neighborhoods may be lost in such analyses. The current study seeks to build on the
         previous research with data collected by a department using mapping to identify hot
         spots of crime and encouraging officers to dedicate time and effort to these areas
         through internal accountability mechanisms. Specifically, the current study examines
         whether the location of traffic stops relative to hot spots of crime mediates the rela-
         tionship between driver race and the likelihood of discretionary searches.
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         Current Study
         The deployment hypothesis proposes that traffic stops and discretionary search are
         expected to be concentrated around hot spots of crime with all drivers of having
         similar likelihoods of discretionary searches regardless of race. To test this expec-
         tation using data from a large, urban police department, the current study identifies
         the distance of individual traffic stops to the nearest crime hot spot, categorizes
         traffic stops based on these distances, and examines whether Black, Hispanic, and
         White drivers within each distance category have relatively similar probabilities of
         discretionary searches.


         Study Setting
         Data for the current study were collected in Minneapolis, MN. At the time of data
         collection, the police department was using crime mapping and Compstat processes
         that encouraged officers to direct time and contacts in and around hot spots of crime
         (Willis, Mastrofski, & Weisburd, 2004). At the start of shifts, officers were provided
         crime maps and ordered to ‘‘use their uncommitted time for directed patrol and to
         focus on making arrests for even minor breaches of the law in order to reduce serious
         crime’’ (Willis et al., 2004, p. 12). Given the widespread adoption of using crime
         mapping to identify hot spots of crime by departments combined with frequent use of
         internal accountability mechanisms such as Compstat for monitoring crime levels and
         deployment of department resources (Reaves, 2010), the study setting is representa-
         tive of current, common crime prevention strategies.


         Data Collection Procedures
         Data on individual traffic stops were recorded by officers using computers mounted in
         patrol cars for all proactive traffic stops taking place between January 1, 2002, and
         December 31, 2002, and were provided to the researchers by the Institute on Race and
         Poverty at the University of Minnesota School of Law. In order to collect data, a
         system was established where the data collection instrument would appear on mobile
         data terminals in every instance where officers reported the initiation of traffic stops to
         dispatchers (Institute on Race & Poverty, 2003). Officers could not clear the instru-
         ment from their mobile data terminals until it was completed. In extraordinary
         situations, such as officers being dispatched to another location, dispatchers could
         temporarily clear the data collection instrument and officers were asked later to
         complete them (Institute on Race & Poverty, 2003).
             The current study focuses on cases where traffic stops were initiated by
         officers for moving, equipment, or registration violations and the data collection
         instrument was completed.1 The study is limited to contacts involving White,
         Black, and Hispanic drivers while traffic stops involving Native American (n ¼ 813)
         and Asian or Pacific Islander drivers (n ¼ 1,802) are excluded due to insufficient
         number of contacts for analysis. Finally, with the current analysis focusing on
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         how the location of police–public contacts relative to hot spots of crime impacts
         racial and ethnic disparities in discretionary searches, interactions involving non-
         discretionary searches were excluded from analyses.2 The sample of contacts in the
         current analysis includes 39,547 stops involving 1,324 discretionary searches.


         Distance to Crime Hot Spots
         To identify hot spots of crime, the Minneapolis Police Department provided
         locations, either by address or by street intersections, for 76,915 reported crimes
         in calendar year 2002 based on incident reports completed by officers. Reported
         crimes consist of both Uniform Crime Report (UCR) Part I violent and property
         crimes and other offenses including reports of drug offenses, vandalism, disorder,
         and loitering.3 Using ArcGIS 10, these reports were geocoded with a 98.5% match
         rate. Unfortunately, neither the hot spots identified by the crime analysis unit at
         the Minneapolis Police Department nor the methods of identifying hot spots at the
         time that the traffic stop data were collected could be determined by the authors.4
         As a result, a series of decisions regarding the techniques used to identify crime
         hot spots were required. The reasoning behind the decisions that follow was based
         on two criteria. First, previous research finds that about 3% of locations accounted
         for between one quarter and one half of all of reported offenses (Braga & Bond,
         2008; Sherman et al., 1989). Second and more importantly, previous experiments
         in directed patrol conducted in collaboration between researchers and police
         practitioners have reported caution among commanding officers in assigning too
         many hot spots for increased police activity. For example, in a randomized
         controlled trial of directed patrol in Minneapolis, it was noted that ‘‘the depart-
         ment could not handle 100 target hot spots . . . and asked [the researchers] to
         reduce the experimental group to 50’’ (Sherman & Weisburd, 1995, p. 632).5
         Similarly, an evaluation of directed patrol strategies compared to problem-
         oriented policing strategies in Jacksonville, FL, targeted 43 hot spots (Taylor
         et al., 2011).
            Hot spots were identified using the Nearest Neighbor Hierarchical Spatial Clus-
         tering tool in Crimestat 3.2a. This technique was selected as it works in conjunction
         with mapping software, ArcGIS, that is commonly used by crime analysts, it is easily
         adjustable to in producing results that fit the criteria for identifying outlined above,
         and the output includes maps that contain ellipses that are common in Compstat
         presentations. Under the goals outlined above, the minimum points per cluster were
         set to 200 with a single standard deviation for the ellipses. The identified hot spots
         contain 6.1% of the city and 34% of all reported crimes.6 The number of hot spots per
         district ranged from 7 to 15 with a total of 61 hot spots across the five department
         districts. The distance from each individual traffic stop to the center of the nearest hot
         spot was linear and identified in feet. Using the distances to the center of the nearest
         hot spots, traffic stops were then categorized as taking place within a quarter of a mile
         of a hot spot, between a quarter and half of a mile, between half of a mile and a mile,
         and greater than a mile.
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         Study Design
         To examine whether the possible concentration of traffic stops and discretionary
         searches around hot spots of crime explains racial disparities in discretionary searches,
         the current study first presents the frequency of traffic stops by driver race in various
         categorical distances. Although these data do not inform whether the population of
         stopped drivers is biased from selection processes (Walker, 2001), it functions as the
         baseline for comparison against the population of drivers whose interactions include
         discretionary searches. More direct to the deployment hypothesis as an explanation of
         racial disparities in discretionary searches, these frequencies enable the exploration of
         whether discretionary searches are also more concentrated around crime hot spots.
         Finally, using multivariate regression models, the relationship between driver race and
         discretionary searches is examined among stops occurring within similar categorical
         distances from crime hot spots.7

         Dependent variable. When officers indicated that searches of drivers, passengers, and/
         or vehicles were conducted in the course of traffic stops, they were asked to select
         from several discretionary reasons for searches, including consent to search form,
         driver gave verbal permission, and officer safety, or nondiscretionary reasons such as
         incident to arrest and contraband observed. Categorization into discretionary and
         nondiscretionary searches replicates previous research (see Schafer et al., 2006) and is
         based on whether searches are conducted based on officer selection or are required by
         department policies. Traffic stops with discretionary searches were coded 1 and all
         other traffic stops were coded 0.

         Independent variables. In addition to whether a search was conducted and the reason for
         the search, officers were asked to collect information regarding driver and situational
         characteristics for each traffic stop. Driver characteristics included the age, gender, and
         race or ethnicity of each stopped driver. Previously published research focusing on
         whether the race or ethnicity of drivers contributed to discretionary decisions in traffic
         stops has noted the importance of identifying how officers perceive the drivers rather
         than how the drivers identify themselves (Batton & Kadleck, 2004; Ramirez, McDevitt,
         & Farrell, 2000). Racial and ethnic characteristics of drivers were likely based on officer
         perception. Indeed, driver’s licenses in the state of Minnesota have never included
         information regarding the race or ethnicity of the licensee.8 The data collection
         instrument limited officers to categorizing drivers into a single race or ethnicity.9
         Officer classifications of driver race and ethnicity were coded into the series of dummy
         variables Black, Hispanic, and White with White functioning as the reference category
         in multivariate models. Age is measured using a series of dummy variables, 15–18,
         19–29, 30–39, and 40 and up, replicating those used by Ridgeway (2006). In multi-
         variate analyses, 15–18 functions as the reference category. Similarly, the driver gender
         variable male was coded 1 for when officers categorized drivers as male and 0 when female.
            Several situational characteristics may also influence the likelihood of discre-
         tionary searches in traffic stops including the initial reason for the stop and the time of
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                                                 10,000
                                                  9,000                                                  White
                                                                                                         Black

                      Traffic stop frequencies
                                                  8,000
                                                                                                         Hispanic
                                                  7,000
                                                  6,000
                                                  5,000
                                                  4,000
                                                  3,000
                                                  2,000
                                                  1,000
                                                      0
                                                          Under 1/4 mile 1/4 to 1/2 mile 1/2 to 1 mile Greater than 1
                                                                                                           mile
                                                                       Distance to nearest crime hotspot


         Figure 1. Traffic stops by race and distance to nearest crime hot spot.


         the interaction. Some have argued police may use less serious traffic violations as a
         reason to initiate traffic stops in order to further investigate drivers, often referred to as
         pretextual stops (Harris, 2002). In the current study, the initial reasons for stops are
         categorized in the variable equip/reg with stops for equipment and registration vio-
         lations coded 1 and stops initiated for moving violations such as speeding coded 0.
         Similarly, to account for the time of each traffic stop, a series of variables were created
         using 4-hr increments, 12 a.m.–4 a.m., 4 a.m.–8 a.m., 8 a.m.–12 p.m., 12 p.m.–4 p.m.,
         4 p.m.–8 p.m., 8 p.m.–12 a.m., replicating previous research (see Ridgeway, 2006),
         with 12 a.m.–4 a.m. as the reference category in multivariate models.



         Results
         Under the deployment hypothesis, stops are expected to cluster near hot spots of
         crime. Based on the results presented in Figure 1 where just over half (51.7%) of all
         traffic stops taking place within one quarter mile of crime hot spot, this expectation is
         supported. Without appropriate baselines for comparison, it is unknown whether the
         racial proportions of drivers stopped are representative of the offending populations in
         these areas of the community (Walker, 2001). However, the findings presented in
         Figure 1 are significant. As noted above, the identification of hot spots used in the
         analyses that follow was identified by the authors rather than using hot spots identified
         within the department at the time the traffic stop data were collected. The results in
         Figure 1 indicate that proactive contacts were highly concentrated within and near the
         hot spots identified by the authors. Moreover, the volume to traffic stops drops con-
         comitantly with distance from hot spots. If the location of hot spots was misidentified,
         one would not expect to find the distribution of stops presented here.
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                                                 8.000



                       Percent stops involving
                       discretionary searches
                                                 7.000                                                  White
                                                 6.000                                                  Black
                                                 5.000                                                  Hispanic
                                                 4.000
                                                 3.000
                                                 2.000
                                                 1.000
                                                 0.000
                                                         Under 1/4 mile 1/4 to 1/2 mile 1/2 to 1 mile Greater than 1
                                                                                                          mile
                                                                    Distance to nearest crime hot spot


          Figure 2. Percentage of stops resulting in discretionary searches by race and distance to
          nearest crime hot spot.

             With traffic stops typically functioning as the baseline for examinations of dis-
          cretionary searches, one noteworthy result of Figure 1 is that more White drivers were
          stopped than Black or Hispanic drivers across each of distance to the nearest crime hot
          spot category. Conversely, compared to the volumes of stops across the remainder of
          the community, greater proportions of Black (8,556 of 14,921 or 57.3%) and Hispanic
          (2,581 of 3,949 or 65.4%) drivers are stopped closer to hot spots of crime than White
          drivers (9,331 of 20,667 or 45.0%).
             With the focus of this article on testing whether the deployment hypothesis
          explains racial disparities in discretionary searches, Figure 2 presents that rates at
          which drivers are searched by race and by distance to the nearest hot spot of crime.
          Under the deployment hypothesis, racial disparities are the expected result of con-
          centrations of discretionary searches near hot spots of crime with similarly situated
          drivers searched at the same rate. The results in Figure 2 do not suggest that traffic
          stops taking place closer to hot spots more frequently involve discretionary searches.
          Rather, the rates of traffic stops including discretionary searches increases as distance
          to nearest hot spots increases up to 1 mile before the rate of searches declines. Fur-
          thermore, results in Figure 2 suggest that minority drivers, particularly Black drivers,
          are disproportionately involved in this type of interaction. Moreover, racial disparities
          in search rates appear to increase concomitantly with distance from the nearest crime
          hot spot up to 1 mile in distance and then decrease.
             In addition to location, there are a variety of other factors, including the time of
          traffic stops and reasons for which stops are initiated, possibly contributing to dis-
          parities in discretionary searches. Table 1 provides descriptive statistics for each of the
          variables in the multivariate models.
             As previously noted, the proportion of traffic stops including discretionary searches
          varies based on the distance from the nearest crime hot spot. In traffic stops closest to
          hot spots of crime, about 3% of stops include discretionary searches. Previous research
          focusing on discretionary searches typically reports search rates between 3% and 6%
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          Table 1. Descriptive Statistics.

                                                                                            Greater
                                                      Under ¼ Mile ¼ to ½ Mile ½ to 1 Mile Than 1 Mile

          Distance to Nearest Crime Hot Spot          Mean     SD   Mean    SD    Mean    SD    Mean    SD
          Discretionary search                     .03        .17    .04    .19    .04    .20    .02    .14
          Equip/reg                                .38        .48    .34    .47    .34    .47    .28    .45
             Black                                 .42        .49    .38    .48    .35    .48    .20    .40
             Hispanic                              .13        .33    .08    .28    .06    .24    .06    .23
             White (reference category)            .46        .50    .54    .50    .59    .49    .75    .44
             15–18 (reference category)            .03        .17    .35    .18    .05    .21    .06    .24
             19–29                                 .47        .50    .46    .50    .44    .50    .40    .49
             30–39                                 .27        .44    .26    .44    .25    .44    .24    .43
             40 and above                          .23        .42    .24    .43    .26    .44    .30    .46
          Male                                     .75        .43    .72    .45    .70    .46    .68    .47
             12 a.m.–4 a.m. (reference category)   .20        .40    .18    .39    .17    .38    .16    .37
             4 a.m.–8 a.m.                         .04        .20    .04    .20    .04    .20    .04    .19
             8 a.m.–12 p.m.                        .11        .31    .11    .31    .10    .30    .12    .33
             12 p.m.–4 p.m.                        .10        .30    .12    .32    .11    .31    .12    .33
             4 p.m.–8 p.m.                         .20        .40    .22    .41    .23    .42    .20    .40
             8 p.m.–12 a.m.                        .35        .48    .33    .47    .35    .48    .35    .48
          n cases                                20,448             9,295         5,893         3,911
          Note. Equip/reg ¼ equipment/registration.


          of traffic stops (Fallik & Novak, 2012; Ridgeway, 2006; Tillyer & Klahm, 2015). The
          rate of traffic stops including discretionary searches increases to 4.3% for stops
          occurring between one half and one mile distance from the nearest hot spot before
          declining to 2% of interactions occurring at 1 mile or greater. In contrast, the rate of
          stops initiated for equipment and registration violations is highest near crime hot spots
          and declines, though not a perfect linear fashion, as distance increases.
              With a dichotomous dependent variable, a series of logistic regressions are used to
          examine the relationship between driver race and the likelihood of discretionary
          searches. A separate model is run for each distance increment. Results of these logistic
          regressions are presented in Table 2 where individual models were run using data from
          all stops within the categorical distance.
              The results in Table 2 are mixed regarding support for the deployment hypothesis.
          Results associated with the variable Hispanic indicate that stops involving Hispanic
          drivers have a similar likelihood to White drivers of involving discretionary searches,
          a finding supportive of the deployment hypothesis. In contrast, results also indicate
          traffic stops with Black drivers are consistently more likely than similarly situated
          White drivers to include discretionary searches and that these disparities increase with
          distances from hot spots up to 1 mile before decreasing slightly, though disparities
          remain beyond 1 mile. This finding does not support deployment hypothesis.
              In addition to racial disparities, findings in Table 2 also indicate stops with younger
          drivers and male drivers also disproportionately included discretionary searches.10
      Table 2. Logistic Regressions of Discretionary Searches.
      Distance to Nearest       Model 1: Under ¼ Mile        Model 2: ¼ to ½ Mile        Model 3: ½ to 1 Mile    Model 4: Greater Than 1 Mile
      Crime Hot Spot
                                                   Odds                       Odds                       Odds                          Odds
      Variables               Coefficient     SE   Ratio   Coefficient   SE   Ratio   Coefficient   SE   Ratio   Coefficient   SE      Ratio
      Intercept               3.776*** 0.231      0.023   3.251     0.270   0.039   3.250*** 0.306    0.039    3.515***    0.470   0.030
      Equip/reg               0.56      0.084     0.945     0.233*   0.112   1.263     0.102    0.135   1.108    0.046       0.251   0.955
      Black                     0.918*** 0.093     2.504     1.080*** 0.123   2.943     1.118*** 0.141   3.059      0.707**    0.250   2.027
      Hispanic                0.048     0.161     0.953     0.183    0.230   1.201     0.068    0.318   1.070      0.288      0.450   1.334
      19–29                   0.483*    0.190     0.617   0.686** 0.212     0.504   0.673** 0.229     0.510    0.265       0.375   0.767
      30–39                   0.699*** 0.198      0.497   1.136*** 0.232    0.321   1.333*** 0.263    0.264    1.214*      0.461   0.297
      40 and up               0.814*** 0.204      0.443   1.422*** 0.251    0.241   1.441*** 0.273    0.237    1.508*      0.482   0.221
      Male                      0.760*** 0.121     2.139     0.684*** 0.150   1.982     0.745*** 0.179   2.106      0.388      0.283   1.475
      4 a.m.–8 a.m.             0.089    0.202     1.093   0.806*    0.400   0.447     0.471    0.308   1.602   17.278*** 3176.210   0.000
      8 a.m.–12 p.m.          0.368*    0.164     0.692   0.581*    0.233   0.560   0.876*    0.369   0.417    0.784       0.565   0.457
      12 p.m.–4 p.m.          0.375*    0.165     0.687   0.787** 0.236     0.455   0.696*    0.310   0.499    0.752       0.515   0.471
      4 p.m.–8 p.m.           0.362** 0.132       0.696   0.335*    0.167   0.715   0.106     0.204   0.899      0.033      0.344   1.034
      8 p.m.–12 a.m.          0.070     0.105     0.932   0.131     0.140   0.877     0.057    0.176   1.059    0.029       0.299   0.971
      Model w2                223.367***                   208.630***                 170.742***                  50.930***
      Psuedo-R2                  .045                         .080                       .095                        .013
      Note. Equip/reg ¼ equipment/registration.
      *p < .05. **p < .01. ***p < .001.




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                                                                                                                                                Case 3:21-cr-00042-JAG Document 72-7 Filed 04/22/22 Page 12 of 20 PageID# 742
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          Table 3. Predicted Probabilities of Discretionary Searches.

                           Under ¼ Mile           ¼ to ½ Mile         ½ to 1 Mile     Greater Than 1 Mile
          Noon to 4 p.m.
            Whitea               1.9%                 4.2%                 4.3%               1.9%
            Hispanic             1.8                  5.0                  4.6                2.6
            Black                4.6                 11.5                 12.1                3.9
          Midnight to 4 a.m.
            White                2.7                  8.8                  8.3                4.0
            Hispanic             2.6                 10.4                  8.8                5.3
            Black                6.5                 22.2                 22.0                7.8
          a
          Male drivers under age 18 stopped for equipment/registration violations.


          Likewise, though less consistent, stops during daylight hours (between 8:00 a.m. and
          8 p.m.) were often less likely to include discretionary searches. In contrast, the reason
          given for initiating traffic stops was often not related to whether officers pursued this
          type of additional investigation.
              To further examine the racial disparities in discretionary searches presented in
          Table 2, using the results from the logistic regression models, probabilities of traffic
          stops including this type of search were calculated and are presented in Table 3. Each
          column in this table represents distances from the traffic stops to the nearest crime hot
          spots. Probabilities are calculated for White and Black male drivers under the age of
          18 for stops initiated for equipment or registration violations occurring either during
          early afternoon hours (between noon and 4:00 p.m.) or at night (between 12:00 a.m.
          and 4:00 a.m.).
              The predicted probabilities in Table 3 more clearly indicate three patterns: the
          likelihood that a stop includes a discretionary search increases concomitantly with
          distance from hot spots, there is generally a tiered effect with Black drivers more
          likely to be searched than Hispanic drivers and Hispanic drivers more likely than
          White drivers, and that racial disparities in this decision are not simply the result of
          patterns in police deployment. As can be seen in Table 3, the likelihood that a stop
          involving a young Black male driver stopped for an equipment or registration vio-
          lation included a discretionary search increased from 6.5% for stops occurring within
          one quarter of a mile from a crime hot spot up to 22% for stops occurring between one
          half and one mile from the nearest hot spot. While similar increases in the likelihood
          of searches with distance is also present for Hispanic and White drivers, there is also
          generally a tiered effect with predicted probabilities of Hispanic drivers being sear-
          ched usually falling between White and Black drivers, though more closely to White
          drivers. Finally, racial disparities in predicted probabilities of discretionary searches
          are present in traffic stops occurring near hot spots and also slightly increase with
          distance up to 1 mile before diminishing. For example, for traffic stops occurring
          closest to hot spots, young Black drivers are 2.4 times more likely to have a traffic stop
          include a discretionary search than similarly situated White drivers. For traffic stops
          occurring between one half mile and one mile from hot spots, young Black drivers are
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          predicted to be searched at 2.8 and 2.6 times the rate of similarly situated White
          drivers in the afternoon and at night, respectively. For stops taking place 1 or more
          miles from crime hot spots, disparities in search rates persist, though the difference is
          slightly diminished with young Black drivers searched at about twice the rate of young
          White drivers.


          Discussion
          Given the proactive nature of traffic stops and limited guidance from department
          policies or court decisions regarding the selection of drivers for searches (Walker,
          2005), police officers often have a great deal of discretion in this decision (Reiss,
          1971). Research focusing on how this authority is exercised usually finds stops of
          Black drivers are more likely to include discretionary searches (Briggs & Crew, 2013;
          Tillyer, 2014). The deployment hypothesis proposes that these disparities are the
          result of greater police presence and proactivity in conducting searches within higher
          crime areas when those areas are disproportionately traversed by racial and ethnic
          minority drivers. Specifically, with experiments finding that the directing of police
          patrols, stops, and searches may reduce criminal offending (Sherman & Rogan, 1995;
          Sherman & Weisburd, 1995; Sorg, Haberman, Ratcliffe, & Groff, 2013), racial dis-
          parities in discretionary searches may result when crime hot spots are dis-
          proportionately located in areas of communities with greater proportions of racial and
          ethnic minority residents and drivers (Roncek & Maier, 1991; Sherman et al., 1989).
          Where racial disparities in discretionary searches are identified, they are expected to
          result from higher concentrations of stops and searches that are selected in a racially
          neutral manner (Parker et al., 2004).
             The current study provides limited support for the deployment hypothesis. Under
          the expectation that traffic stops will be concentrated near crime hot spots, the
          current study finds that just over half of all stops occurred within one quarter mile
          of a hot spot. This finding is similar to previous research based on neighborhoods
          which also find positive associations between crime rates and rates of stops
          (Petrocelli et al., 2003; Renauer, 2012; Roh & Robinson, 2009) and is supportive of
          the deployment hypothesis. In addition, traffic stops occurring during nighttime
          hours, particularly between midnight and 4 a.m., were about twice as likely to
          include discretionary searches as similar stops occurring in the 4-hr time period
          following noon and replicating a finding found in other analyses using traffic stops
          as the unit of analysis (Fallik & Novak, 2012; Tillyer & Klahm, 2015). This could be
          the result of officers with less experience, who may also be more assertive in
          conducting discretionary searches, disproportionately assigned to nighttime shifts
          (Tillyer & Klahm, 2015). In regard to the deployment hypothesis, this finding also
          suggests an important temporal element.
             Evidence from the current study is not supportive of the expectations that stops
          taking place closer to hot spots of crime are more likely to include discretionary
          searches and that this decision is race neutral. Rather, the findings in the current study
          indicate the likelihood of a stop including a discretionary search increases with
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          distance from the nearest hot spot up to 1 mile before diminishing and that stops
          involving Black drivers are more likely to include discretionary searches. The finding
          regarding the likelihood of searches increasing with distance from crime hot spots
          contradicts previous research focusing on the relationship between the deployment of
          police resources and rates of searches per stops (Petrocelli et al., 2003; Roh &
          Robinson, 2009; for an exception see Novak & Chamlin, 2012). One possible reason
          for the incongruity in findings lies in variation of the unit of analysis used across
          studies. Whereas the current analyses centered on more closely measuring the distance
          from each contact to areas of concentrated offending, previous research on this topic
          has relied on neighborhoods as the unit of analysis. As previously noted, neighbor-
          hoods can range in size up to several dozen square miles (Novak & Chamlin, 2012).
          Analyses conducted with larger areas may suffer from aggregation bias resulting in
          different findings from those presented here.
              Few other studies examine whether patterns of police deployment contribute to racial
          disparities in discretionary searches. These studies have produced mixed results with
          some supporting the deployment hypothesis by finding the selection of drivers for
          searches to be race neutral after accounting for neighborhood crime rates (Alpert et al.,
          2008). Other researchers have reached different conclusions. Namely, some have found
          that Black drivers are more likley to be searched, including in higher crime areas
          (Novak & Chamlin, 2012; Ridgeway, 2006). The current study adds to the literature by
          using a more spatially refined measure of locations of stops that is more reflective of the
          common crime prevention practice of directed patrol (Reaves, 2010) and finds that
          racial disparities in discretionary searches are present within and immediately around
          crime hot spots. Moreover, these disparities increase with distance up to 1 mile from hot
          spots before diminishing. Together, these findings are not supportive of the idea within
          the deployment hypothesis that racial disparities in poststop outcomes, such as dis-
          cretionary searches, can be mitigated by measures of deployment.
              Alternatively, a growing body of research indicates that disparities in poststop
          outcomes, such as discretionary searches, may be the result of social conditioning
          (Tillyer et al., 2012). Given the uneven size of disparities identified in the current
          study, we suggest future research more closely examine how measures of implicit
          bias, including through the exericise of discretionary authority of conducting searches
          within traffic stops, are conditioned by situational characteristics of interactions
          including measures of police deployment. The finding that likelihoods of discre-
          tionary searches increase with distance from crime hot spots may also indicate var-
          iation in working group expectations or available time to officers to expend on these
          type of investigations (Klinger, 1997). Similarly, additional stop-level factors, such as
          criminal histories (Ridgeway, 2006; Tillyer, 2014), may also contribute to the decision
          by officers to conduct this type of search. Due to limitations of the data collection
          instrument, these additional stop-level factors could not be included within the current
          analyses. Future examinations of the deployment hypothesis would benefit by
          including these additional measures.
              The traffic stop data used in this current study contain valuable geographic iden-
          tifiers, making these analyses possible but were not without limitations. The reason for
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          the search is a measure of both the decision to exercise discretionary authority by
          officers and compliance by drivers whereby officers must request a search and drivers
          must consent to the request. Traffic stops where officers placed requests for searches
          with drivers who were not granted by drivers were not identified. In addition, the
          findings presented here are from a single jurisdiction. At a minimum, caution should
          be noted when generalizing to other communities. Furthermore, we did not use hot
          spots identified by the police department to provide officers direction to spend their
          time and efforts. Rather, the current study relied upon police reports provided by the
          department to the researchers to identify hot spots of crime. While it is possible that
          this method misidentified where officers were directed, it is noteworthy that over half
          of all traffic stops within the jurisdiction occurred within one quarter mile of the hot
          spots identified by the researchers.
             The current study was conducted with data from a department whose management
          was actively engaged in identifying hot spots and encouraging officers to direct time
          and attention to these areas (Willis et al., 2004). Among the concerns that have been
          raised regarding the directing of police resources to crime hot spots, one of the more
          consistent criticisms is that these types of strategies contribute to disparate treatment
          (Kochel, 2011; Rosenbaum, 2006). While additional research is needed to examine
          the breadth of concerns, our findings suggest that the deployment strategies by police
          did not contribute to disparities in discretionary searches in a manner hypothesized
          under the deployment hypothesis. Future research would benefit from examining stop
          and search patterns over time within a jurisdiction to see how various crime prevention
          strategies, such as directed patrol, impact disparities in discretionary searches.

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          Notes
           1. Reactive contacts were removed due to variation in available discretion based on the
              presence and preference of members of the public involved in such contacts. Officers were
              also given a categorical response of ‘‘other’’ where they then prompted to provide addi-
              tional information. Responses that clearly fit proactive traffic stops were recoded and
              included in analyses. The remaining cases were too varied to categorize and too hetero-
              geneous for interpretation to include in analyses.
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           2. The data collection instrument allowed for officers to indicate only one reason for up to
              three searches (driver, vehicle, and passenger). Without indicators of timing or data on
              variation in reasoning, the data in this analysis cannot be used to determine whether
              discretionary searches lead to additional nondiscretionary searches.
           3. At the time the traffic stop data were collected, observers noted that the crime analysis unit
              generated maps that ‘‘generally included a range of Part I violent and property offenses’’
              (Willis et al., 2004, p. 49). Given the uncertainty as to what other offenses may have also
              been included combined with inefficient communication of this information to patrol
              officers noted below, a more inclusive selection criteria were employed in identifying
              crime hot spots for the analyses that follow.
           4. Results of a review of procedures and processes undertaken at the time that the traffic stop
              data were collected raise doubts regarding how precise of direction patrol officers were
              given. The review notes that even though hot spot maps were featured prominently in
              department operations, ‘‘district commanders limited their analysis to the time and location
              of individual crime incidents . . . based upon examination of these clusters, they imple-
              mented their response’’ (Willis et al., 2004, p. 55). In addition, the review found ‘‘that the
              data component of Compstat had not ‘filtered’ or ‘trickled’ down to the street level’’ (Willis
              et al., 2004, p. 57).
           5. Ultimately, the experiment involved directed patrols to 55 crime hot spots.
           6. With targets for spatial proportion of the community and proportion of reported crimes that
              should be contained within identified hot spots based on previous research as well as numbers
              of hot spots per precinct that police policy makers have stated can be reasonably addressed,
              several points per cluster specifications were initially tested. Two hundred points per cluster
              was selected, as it returned the closest fit to the parameters outlined above.
           7. One concern with analyses examining whether neighborhood characteristics are associated
              with outcomes is spatial autocorrelation where the likelihood of a phenomenon occurring is
              not independent of the frequency in adjoining neighborhoods. Although there are a variety
              of techniques available for diagnosing and adjusting for this problem, these techniques are
              limited to area data (Paynich & Hill, 2010). The focus of the current study centers on
              individual contacts, or point data, where such diagnostic tests or adjustments are not
              available with a dichotomous outcome variable (e.g., see Ingram, 2007).
           8. Personal communication between authors and state agency responsible for issuing driver’s
              licenses.
           9. Driver race and ethnicity were combined in the data collection instrument. Officers were to
              select from the following categories: American Indian/Native American, Asian or Pacific
              Islander, Black, Latino, and White.
          10. Each model was also run with age as a continuous variable which produced results sub-
              stantially similar to what is presented in Table 2. Results of these analyses are available
              upon request.

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